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Attorneys for Defendant,

` Philadelphia Indemnity In$urance Company

JENNIFER WITHERS, an individual
' Piaiiiiiff, '
VS.

PHILADELPHIA INDEMNITY INSURANCE ‘
COMPANY, a Pennsylvania Corporation; CPH
& ASSOCIATES INC., an Illinois Corporation;
CPH & ASSOCIATES, INSURANCE
AGENCY, INC; CPH & ASSOCIATES, LLC;
and Does 1 through 25, inclusive,

Defendants.

 

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

Case No.: CV 09-6071 CAS (PJWX)

STIPULATION AND ]PROPOSED]
ORDER OF DISMISSAL

Courtroom: 5 (Hon. Christina A. Snydcr)

 

STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
Case No. CV 09-6071 CAS (PJWX)

 

 

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Attomeys for Defendant,
Philadelphia Indemnity lnsurance Company

UNITED` STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA- WBSTBRN DIVISION
JENNIFER WITHERS, an individual Case No.: CV 09-6071 CAS (PJWX)

Plaintiff,
STIPULATION AND ORDER OF
VS. DISMISSAL

PHILADELPHIA INDEMNITY INSURANCE
COMPANY, a Pelmsylvania Corporation; CPH
& ASSOCIATES INC., an Illinois Corporation;
CPH & ASSOCIATBS, INSURANCE
AGENCY, INC; CPH & ASSOCL§.TES, LLC;
and Does 1 through 25, inclusive

Defendants.

 

 

 

 

IT IS HEREBY STIPULATED by and between the paities in this action through their
designated counsel that, following settlement of all claims between the parties, the above~
captioned action be and hereby is DISMI SSED WlTI-I PREJUDICE.

SO STIPULATED.

DATED; A_ugusi;§_, 2010 LAW oFFicES oF KEITH F. SIMPSON

 

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STIPULATION AND ORDER OF DISMISSAL
Case No. CV 09-6(]71 CAS (PIWX)

 

 

 

Case 2:O9-CV-06071-CAS-P.]W Document 49 Filed 08/16/10 Page 3`of 5 Page |D #:811

 

 

1 'DATED: Augusi lji, 2010 NIELSEN, HALEY & ABBoTT, LLP
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3 ctr
4 ' By: Q/g
J(;nrfifer S. Cohn _
5 Attorneys for Defendant, Philadelph1a
lndemmty Insurance Company
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7 ,
8 DATED: August _/§,' 2010 SCHONFELD, BERTSCHE, PRECIADO &
MAI-IADY, LLP
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. By:
12 Susana M. Mahad
Attorneys for Defendant
- 13 CHP & Associates Insura ency, Inc.
14
15
16 APPROVED AND SO ORDER_ED,
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18 DATED:
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20 UNITED STATES DISTRICT JUDGE
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STIPULATION AND ORDER OF DISMIS SAL
Case No. CV 09~6071 CAS (PIWX)

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Withers v. Philadel[)hia Indemnity Ins. Co.
United States District Court, Central District ~ Case No.: CV 09-06071 CAS (PJWX)

PROOF OF SERVICE
l declare that:
lam a citizen of the United States, employed in the County of San Francisco. I am over
the age of eighteen years_, and not a party to the within cause. My business address is
44 Montgomery Street, Suite 750, San Francisco, California 94104.

On the date set forth below I served the following document(s) described as:

STIPULATION AND [PROPOSED] ORDER OF DISMISSAL

[ ] ' (BY FACSIMILE) b transmitting via facsimile the document(s) listed above to the
fax number(s) set forth be ow, or as stated on the attached service list, on this date.

[ ] (BY MAIL) 1 caused such envelope(s) With postage thereon fully prepaid to be placed in
the United States mail at San Francisco, California. '

[ ] (BY PERSONAL SERVICE) l caused such envelope(s) to be delivered by hand this date
to the offices of the addressee(s). ._

[ ] (BY OVERNIGHT DELIVERY) l caused such envelope(s) to be delivered to an
overnight delivery carrier With delivery fees provided for, addressed to the person(s) on whom it
is to be served

[XX] (BY ELECTRONIC SERVICE) by submitting an electronic version of the document(s)
to be served on all parties listed on the service list on tile With the court as of this date.

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PRooF oF sERvIcE

 

 

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. Withers v. th`ladelphz`a Indemnity lns. Co.
United States District Court, Central District - Case No.: CV 09-06071 CAS (PJWX)

I declare under penalty of perjury that the foregoing is true and correct and that this

declaration Was executed on August 16, 2010, at San Francisco, California.

61th

Fatima Bonilla

 

PROOF OF SERVICE

 

 

 

